                             Case 1:20-cv-01637-YK-EB Document 1 Filed 09/10/20 Page 1 of 5


                          FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

                                                IN THE UNITED STATES DISTRICT COURT

                                                                                                          --   ~ - - - - - ------- --- --   --     -



             (1)-   Jor    -12. Go,'V)e'Z 7J d--17-0S
                  (Name of laintiff)     (Inmate Number)

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                 (Address)wh ~ r-e. 1> e-e< PA- 17 897 ~
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             (2)._ _ _ _ _ _ _ _                 ___.c_ _ _ __


                  (Name of Plaintiff)           (Inmate Number)
                                                                                                  (Case Number)

                 (Address)
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                 (Each named party must be numbered,                                                                                          I•


                  and all names must be printed or typed)

                                      vs.                                                      CIVIL COMPLAINT

            c1) Cu lien, Tho met~ 1). D.
            (2~ Rya_n ~o..r l(ya ~ 5 A-
            (3)    1'.B ✓ ~ o 5.\.-e( H 5 A
                 (Names of Defendants)

                 (Each named party must be numbered,
                  and all names must be printed or typed)


                                   TO     BE FILED UNDER:~            42 U.S.C. § 1983 - STATE OFFICIALS
                                            .                  ✓ '28 U.S.C. § 1331 - FEDERAL OF_FICIALS
                                                              __

            I.       PREVIOUS LAWSUITS

                     A.      If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
                             number including year, as well as the name of the judicial officer to whom it was assigned:
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                                    N.A.                ',F                      ',F




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                        Case 1:20-cv-01637-YK-EB Document 1 Filed 09/10/20 Page 2 of 5


       II.     EXHAUSTION OF ADMTh11STRATIVE REMEDIES

              In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
              each-grouno-onwhich-you-request-action-.-- ~--- - ------ -~----                  _________________

              A.          I~ there a prisoner grievance procedure available at your present institution?                  /Yes _ _No

              B.          Have you fiµ,ly exhausted your available administrative remedies regarding each of your present
                          claims? ✓ Yes           No
                                      --           --
              C.          If your answer to "B" is Yes:

                          1. What steps did you take?    i he. Adm ~ V\ ; S fv--c,J-~ Ve.. Rem e. Jy
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I•                       ,7,.   What was the resu~?          +~ \ cJ
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                                ND-~      RT- NER- 202.O-03Y9Cf
              D.         If your answer to "B" is No, explain why not: _ _ _ _ _ _ _ _ _ _ _ __




      III.   DEFEJ\'DANTS

             (1) Name of first defendant:           D. 0 .       e u ·\ \-e ('\ 11' h      OM C\.-5

                 Employed as "Doc...             to,                                     A-\\        wood~med;v\l'V\
                                                                                            at F C.C..      e.n
                 Mailingaddress:          P.O.
                                           (?,01' 2$00 ~h\\-~ :D-e..<., £~ 17'8€$7
             (2) Name of second defendant: Ryo.f\ Po. l" k 1 O H..S.A                                               ·_ .      . . ..
                 Employed as        S                                                      A\\
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                 Mailing address: .0.       o                         _ \.v · te... 1)-e..e-- ~ _ \                      8t
             (3) Name of third defendant: _ ,._,,_,~=-a...•..........a,0~5......:\._..__...<.,..,_,_ _ _--=---~-----
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                                                                                                              i"
                     (List any additional defendants, their employment, and addresses on extra sheets if necessary)
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     IV. STATEMENT OF CLAIM

         (State here as briefly as possible the. facts of your ~~se. Describe how eac~ -~efendant is involved, in~luding
       dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more thari·three ,
     extra sheets if necessary.)      -                            \\   '          d        1      1 '     '-     '   l           'l.
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       on T-~.i J.. '-/ - i '\ M ~ r w,iil S do 'I\<... D f · ,/ 2 C. V \\ e..n Th 0 1l'Y\Q.5 c CL 1h e. \.-JO ~ CUI\'\ e,
       C. CH\C. \ v ~ \ O Y\ \"\ O \~ pV\ _5 vJ f'O O :\ vJ \ -\-\.-) J: n ~ et' te.
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                   (State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
                   statutes.)            _         '
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             I declare under penalty of perjury that the foregoing is true and correct.




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   FEDERAL CORRECTIONAL COMPLEX-ALLENWOOD med,'\) M                                                                                                        "'>
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   WHITE DEER, PA 17887                                                                                                                                    .""
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                                                                                    Clerk Court
                                                                                  . PO BOX 1148
                                                                                    235 Washington AVE
                                                                                    Scranton, PA 18501
                                                                                    United States




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